   Case 1:22-cv-00684-MN Document 4 Filed 06/29/22 Page 1 of 5 PageID #: 39




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 NICHOLAS YINGLING, Derivatively on
 behalf of Nominal Defendant REDWIRE
 CORPORATION,

                        Plaintiff,

        v.                                        Case No. 1:22-cv-00684-MN

 PETER CANNITO, LES DANIELS,
 REGGIE BROTHERS, JOANNE ISHAM,
 KIRK KONERT, JONATHAN E. BALIFF,
 and JOHN S. BOLTON,

                        Defendants,

        and

 REDWIRE CORPORATION,

                        Nominal Defendant.


    JOINT STIPULATION AND [PROPOSED] ORDER TO TEMPORARILY STAY
                         DERIVATIVE ACTION

       Plaintiff Nicholas Yingling (“Plaintiff”), derivatively on behalf of Nominal Defendant

Redwire Corporation (“Redwire”), and Peter Cannito, Les Daniels, Reggie Brothers, Joanne

Isham, Kirk Konert, Jonathan E. Baliff, and John S. Bolton (the “Individual Defendants, and with

Redwire, the “Defendants”), jointly submit this Stipulation to temporarily stay this action, and in

support thereof state as follows:

       WHEREAS, Plaintiff commenced the instant litigation alleging the Individual Defendants

breached their fiduciary duties by, among other things, knowingly disseminating false statements

to the investing public in contravention of Delaware law, Section 10b-5 of the Securities Exchange
   Case 1:22-cv-00684-MN Document 4 Filed 06/29/22 Page 2 of 5 PageID #: 40




Act of 1934, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, which breaches are

alleged to have caused harm to Redwire (the “Derivative Litigation”);

       WHEREAS, pending in the United States District Court for the Middle District of Florida

is a putative securities class action captioned Lemen v. Redwire Corp. et al., Case No. 3:21-cv-

01254-TJC-PDB (the “Securities Litigation”);

       WHEREAS, there is an overlap between the facts and circumstances alleged in the

Derivative Litigation and the Securities Litigation, including the relevance of many of the same

documents and witnesses;

       WHEREAS, Redwire and Cannito are also named as defendants in the Securities

Litigation;

       WHEREAS, upon the filing of an amended complaint in the Securities Litigation, the

defendants in the Securities Litigation anticipate filing a motion to dismiss;

       WHEREAS, pursuant to the Private Securities Litigation Reform Act (“PSLRA”),

15 U.S.C. § 78u-4(b)(3)(B), “all discovery and other proceedings shall be stayed during the

pendency of any motion to dismiss,” and, as a result, until the court in the Securities Litigation

decides the anticipated motion to dismiss, discovery in the Securities Litigation will be stayed;

       WHEREAS, in order to ensure economy of time and effort for the Court, for counsel, and

for litigants, Plaintiff and Defendants have agreed that, in light of the overlap between the

Derivative Litigation and the Securities Litigation, and in light of the stay of proceedings which

the Parties anticipate will commence by operation of law following the filing of a motion to dismiss

in the Securities Litigation, that the Derivative Litigation should be voluntarily stayed on the terms

set forth below unless and until either (1) the Securities Litigation is dismissed, with prejudice,

and all appeals related thereto have been exhausted; or (2) the motion to dismiss the Securities



                                                  2
   Case 1:22-cv-00684-MN Document 4 Filed 06/29/22 Page 3 of 5 PageID #: 41




Litigation is denied, and the PSLRA stay dissolves as a matter of law; or (3) either of the Parties

to this Stipulation gives 20 days’ notice that they no longer consent to the voluntary stay of the

Derivative Litigation.

       WHEREFORE, the Parties, through their undersigned counsel, hereby agree, stipulate, and

respectfully request that the Court enter an order as follows:

       1.      The Derivative Litigation, including but not limited to all motion practice,

obligations to respond to the operative complaint, and all discovery and disclosure obligations

under the applicable local and federal rules, are hereby stayed until fifteen (15) days after the

earlier of the following events: (a) the Securities Litigation is dismissed in its entirety with

prejudice, and all appeals related thereto have been exhausted, or is resolved or dismissed by

settlement; (b) the motion to dismiss the Securities Litigation is denied, and the PSLRA stay

expires as a matter of law; or (c) either of the Parties to this Stipulation gives 20 days’ notice that

they no longer consent to the voluntary stay of the Derivative Litigation.

       2.      If this stay of proceedings expires pursuant to Paragraph 1 above, the Parties shall,

within fifteen (15) days after the expiration of the stay, meet and confer and submit a proposed

scheduling order governing further proceedings in the Derivative Litigation, including the date by

which Defendants must answer, move against, or otherwise plead in response to the operative

complaint in the Derivative Litigation. Nothing in this Stipulation shall prevent or prejudice

Defendants from moving for a continued stay of proceedings based on the pendency of other legal

actions or a change in facts related to this case or other legal actions. Further, nothing in this

Stipulation shall prejudice Plaintiff from opposing such motion.

       3.      Defendants shall promptly notify Plaintiff upon becoming aware of any related

derivative lawsuits (“Related Derivative Actions”) or threatened, related derivative lawsuits,



                                                  3
   Case 1:22-cv-00684-MN Document 4 Filed 06/29/22 Page 4 of 5 PageID #: 42




including books and records demands or litigation demands (“Threatened, Related Derivative

Actions”).

       4.      The Parties agree that during the pendency of this stay, Defendants shall inform

Plaintiff promptly upon the scheduling of any mediation or settlement talks with the plaintiff in

the Securities Litigation or any Related Derivative Action, and shall make a good faith effort to

include Plaintiff in any mediation or settlement talks with the plaintiffs in the Securities Litigation

or any Related Derivative Action. If plaintiffs in the Securities Litigation (or any Related

Derivative Action or Threatened, Related Derivative Action) object to including Plaintiff in such

mediation, Defendants shall mediate with Plaintiff at or about the same time separately.

       5.      The Parties agree that notwithstanding the stay of this Derivative Litigation,

Plaintiff may file an amended complaint; however, Defendants need not answer or otherwise

respond to the Complaint or to any other complaint or amended complaint that is filed in or

consolidated with the above-captioned action during the pendency of this stay.

       6.      The parties to this Derivative Action are not waiving any rights, claims, or defenses

of any kind, including jurisdictional defenses, and no part of this stipulation shall be construed as

a waiver of any rights, claims, or defenses.




                                                  4
  Case 1:22-cv-00684-MN Document 4 Filed 06/29/22 Page 5 of 5 PageID #: 43




DATED: June 29, 2022

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                                                    Counsel for Defendants




      IT IS SO ORDERED this ____ day of _________, 2022.



                                ____________________________
                                The Honorable Maryellen Noreika
                                United States District Court Judge




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